    Case 1:15-cr-00290-LO Document 126 Filed 09/27/18 Page 1 of 3 PageID# 772



                     IN THE UNITED STATES DISTRICT COURT FOR THE
                               EASTERN DISTRICT OF VIRGINIA

                                         Alexandria Division


 UNITED STATES OF AMERICA,

                                                    CASE NO. I:15cr290

 NOE MONTES-BOBADILLA

                Defendant



                                             ORDER


                The Court has received a Motion for Clarification of Court's Order Disqualifying
Attorney Eduardo Balarezo by Mr. Montes-Bobadilla's counsel Robert Jenkins(Dkt. 121). The
motion asks the Court to bar Mr. Balarezo from further communicating with the Defendant Noe
Montes-Bobadilla absent the approval ofthe Court or his counsel in this case, Mr. Jenkins and
Ms. Amato. For the following reasons, the motion is GRANTED.

                The court recently heard argument on the Government's Motion to Disqualify Mr.
Balarezo on the alternate grounds of his own conflict with the trial date set here(November 27,
2018), as well as his conflict of interest in representing Mr. Montes-Bobadilla and Mr. Joaquin
Archivaldo Guzman, who is set for trial on November 5,2018 on similar cocaine charges in the
Eastern District ofNew York. The conflict identified by the Government was ofgreat concern to
the Court, but since the Court refused to continue the trial date for reasons identified during the
hearing and in a simultaneously filed Memorandum Opinion, the Court declined to formally rule
on the conflict issue.
   Case 1:15-cr-00290-LO Document 126 Filed 09/27/18 Page 2 of 3 PageID# 773




                The Court instead revoked the appearances of Mr. Balarezo and his local counsel,
 Mr. Daniel Dorsey, and appointed additional counsel, Mr. Jenkins, to assist in Mr. Montes-
 Bobadilla's defense.

                The Court now understands from this Motion and the attached letter from Mr.
 Balarezo to Mr. Jenkins dated September 17,2018 that Mr. Balarezo has continued to represent
 Mr. Montes-Bobadilla m this matter, and also advised him on other matters after being asked to
 desist by Mr. Jenkins.

                This Court did not specifically find that Mr. Balarezo was disqualified for a
 conflict ofinterest as outlined in the Government's motion, as it believed it was unnecessary to
 do so after revoking his representation of Mr. Montes-Bobadilla because he was unavailable to
try the case on the scheduled trial date. That appears to have been a mistake, as Mr. Balarezo has
authored a letter to the Court on Mr. Montes-Bobadilla's behalf attempting to undennine my
ruling and disrupt present counsel, Ms. Amato's, attorney-client relationship with Mr. Montes-
Bobadilla. (The Court did invite Mr. Montes-Bobadilla to put in writing the reason he was
raising his hand m court at the end ofthe hearing for unidentified reasons. This does not excuse
Mr. Balarezo's authoring this letter.) This is extremely disturbing as Mr. Balarezo has received
no discoveiy from the Government and has not spoken at length viith present counsel, and
therefore the Court assumes he knows little about the evidence or counsel's preparation. Ms.
Amato has toiled for almost a year to discover the Government's case against her client
competently as Mr. Montes-Bobadilla's court-appointed counsel. Mr. Montes-Bobadilla
accepted court-appointed counsel in December 2017 and never indicated he had the funds to hire
    Case 1:15-cr-00290-LO Document 126 Filed 09/27/18 Page 3 of 3 PageID# 774



  retained counsel. Mr. Balarezo's sudden, last-minute appearance as retained counsel, when he
  also represents Joaquin Guzman,a known associate of Mr. Montes-Bobadilla, Is more than a
  coincidence. The Court has no evidence that Mr. Balarezo is advising Mr. Montes-Bobadilla
                                                                                               not

 to cooperate with the Government In its case against his client Mr. Guzman,and has no wish to
 prevent Mr. Montes-Bobadiila from consulting with any attorney about his charges here in the
 United States. However,the Court is unaware ofany charges or issues Mr. Montes-Bobadilla
 faces other than his indictment here and his decision on whether to cooperate in the
 Gcvemmenfs case against Mr. Guzman. Those are matters to be left to counsel appointed to
 represent Mr. Montes-Bobadilla in this court, and Mr. Balarezo shall not discuss either topic with
 Mr. Montes-Bobadilla as of the dale of this Order.

               Therefore, Mr. Balarezo is ORDERED to have no contact with Mr. Montes-
Bobadilla himself or through a third party without express approval from this Court or Mr.
Jenkins or Ms. Amato.




                                             Liam O'Gra^y^
                                             United States District Judge


Septembei2i 2018
Alexandria, Virginia
